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                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF ILLINOIS


 UNITED STATES OF AMERICA,                        )
                                                  )
                Plaintiff,                        )
                                                  )
 v.                                               )     NO.94-CR-30064-WDS
                                                  )
 JOHN W. LINDSEY,                                 )
                                                  )
                Defendant.                        )


                                 MEMORANDUM AND ORDER

 STIEHL, District Judge:

        This matter is before the Court on defendant’s pro se motion to reduce sentence (Doc. 456).

 The defendant seeks to have his 1996 sentence adjusted so that he be given credit for 22 months of

 his state court sentence, in light of the fact that his federal sentence was to run “concurrently” with

 his state court sentence.

        The Seventh Circuit has held that it is the Bureau of Prisons which computes and determines

 credit which is due under a federal sentence for a concurrently running state sentence. See, United

 States v. Ross, 219 F.3d 592, 594 (7th Cir. 2000) (“The district court [has] no authority to order the

 BOP to give [the defendant] credit [for a state court sentence] because that authority rests

 exclusively with the BOP.” Id. (citing 18 U.S.C. § 3585(b).) In light of this, the Court DISMISSES

 defendant’s motion.



 IT IS SO ORDERED



 DATE:       22 November, 2010
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                                    /s/ WILLIAM D. STIEHL

                                            DISTRICT JUDGE




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